Case 1:18-cr-20602-KMW Document 162 Entered on FLSD Docket 03/27/2019 Page 1 of 3
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                      CASE NO.: 18-CR-20602-CR-WILLIAMS


  UNITED STATES OF AMERICA,

  Plaintiff,

  vs.

  JUAN MANUEL ACOSTA LOPEZ,

  Defendant.

  ________________________


   OBJECTIONS TO PRE-SENTENCE INVESTIGATION REPORT AND REQUEST FOR
                        DOWNWARD DEPARTURE


          The Defendant, JUAN MANUEL ACOSTA LOPEZ (hereinafter “LOPEZ”) by and

  through his undersigned counsel, pursuant to Rule 32, Federal Rules of Criminal Procedure, the

  Fifth Amendment to the United States Constitution and 18 U.S.C. §3553(a), respectfully files his

  objections to the Presentence Investigation Report (hereinafter “PSR”), and Request for

  Downward Departure and/or Variance. In support thereof, Defendant states as follows:


  I. INTRODUCTION


          Undersigned counsel and LOPEZ had an adequate opportunity to confer and thoroughly

  review the PSI in accordance with United States vs. Aleman, 832 F. 2d 142, 144 note 6 (11th Cir.

  1987). Pursuant to Rule 32(c)(3)(D), Fed. R. Crim. P., the court is required, as to each factual

  matter controverted by the defendant, either to make a finding as to such allegation or a

  determination that no such finding is necessary because the controverted matter will not be

  considered at sentencing. Id.
Case 1:18-cr-20602-KMW Document 162 Entered on FLSD Docket 03/27/2019 Page 2 of 3




  II. ENHANCEMENT AS CAPTAIN

         In paragraph 23, we object to the Probation Officer’s assessment that Lopez was the

  Captain and the two-level increase in the advisory guidelines.. We join in the objection of the

  United States and adopt the facts and arguments of law contained in support of their objection.

  III. DEPARTURE

         The Court has already sentenced at least two of the co-defendants in this case to 87

  months’ imprisonment and one defendant to 81 months in prison. Lopez is similarly situated and

  therefore we request that the Court sentence him to no more than 87 months imprisonment.

                                                     Respectfully Submitted,

                                                      DAVID K. TUCKER, P.A.
                                                      2333 Brickell Avenue
                                                      Suite A-1
                                                      Miami, FL 33129
                                                      (305) 798-5922- Cell



                                                      By:/David K. Tucker
                                                      DAVID K. TUCKER
                                                      FLA BAR NO: 406023
Case 1:18-cr-20602-KMW Document 162 Entered on FLSD Docket 03/27/2019 Page 3 of 3




                                 CERTIFICATE OF SERVICE



        I HEREBY CERTIFY that a true and correct copy of the foregoing motion was

  electronically filed with the Clerk of Court via CM/ECF. I also certify that the attached motion

  was served electronically this day on all counsel of record via Notice of Electronic Filing

  generated by CM/ECF on March 27, 2019.




                                                     By:/S David K. Tucker
                                                     DAVID K. TUCKER
